


  SCHWARTZ, Senior Judge.
 

  This is a petition for second-tier certio-rari in a case involving Personal Injury Protection benefits. The petition is denied on the authority of
  
   Ulloa v. United, Automobile Insurance Co.,
  
  36 So.3d 184 (Fla. 3d DCA 2010);
  
   United Automobile Insurance Co. v. Eduardo J. Garrido, D.C., P.A.,
  
  22 So.3d 120 (Fla. 3d DCA 2009);
  
   United Automobile Insurance Co. v. Perez,
  
  21 So.3d 886 (Fla. 3d DCA 2009);
  
   Partners in Health Chiropractic v. United Automobile Insurance Co.,
  
  21 So.3d 858 (Fla. 3d DCA 2009);
  
   United Automobile Insurance Co. v. Santa Fe Medical Center,
  
  21 So.3d 60 (Fla. 3d DCA 2009) (en banc), petition for review pending, No. SC09-2100, proceedings stayed (Fla. Jan. 5, 2010);
  
   United Automobile Insurance Co.
  
 
   *69
   

   v. Metro Injury &amp; Rehab Center,
  
  16 So.3d 897 (Fla. 3d DCA 2009).
 

  Petition denied.
 
